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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


   JACQUAR STOKES,                        1:20-cv-2906 (NLH)

                  Petitioner,             MEMORANDUM OPINION & ORDER

         v.

   NEW JERSEY DEPARTMENT OF
   CORRECTIONS,

                  Respondents.


APPEARANCES:

Jacquar Stokes
824841
CFCF
7901 State Rd.
Philadelphia, PA 19136

     Petitioner pro se

HILLMAN, District Judge

     WHEREAS, Jacquar Stokes submitted a petition for writ of

habeas corpus under 28 U.S.C. § 2254, see ECF No. 1; and

     WHEREAS, on September 8, 2020, mail addressed to Petitioner

was returned as undeliverable, see ECF No. 8; and

     WHEREAS, the Court administratively terminated the

proceedings under Local Civil Rule 10.1 on September 23, 2020,

see ECF No. 10; and

     WHEREAS, Petitioner has confirmed his current address with

the Clerk, see ECF No. 11,
  Case 1:20-cv-02906-NLH Document 12 Filed 10/02/20 Page 2 of 2 PageID: 57



     THEREFORE, IT IS on this       2nd    day of October, 2020

     ORDERED that the Clerk shall reopen this matter; and it is

finally

     ORDERED that the Clerk shall send a copy of this Order to

Petitioner and the Burlington County Prosecutor’s Office by

regular mail.


                                            s/ Noel L. Hillman
At Camden, New Jersey                     NOEL L. HILLMAN, U.S.D.J.




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